Case 9:20-cv-80604-RKA Document 20 Entered on FLSD Docket 07/07/2020 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


  MORIAH AHARON;
  JORDAN G. KUPPINGER, M.D.;
  DAMON J. DETESO, M.D.;
  ROSANNA CARUSO;
  CHRISTOPHER PAYTON;                               CASE NO. 9:20-cv-80604-RKA
  LEE ANGIOLETTI;                                   CLASS ACTION
  MARIANGELLA MANNING;                              JURY TRIAL DEMANDED
  LYNNORA VASQUEZ; and
  REBECCA MADDEN, each on
  behalf of themselves, and all those
  similarly situated,

  Plaintiffs,

  v.

  CHINESE COMMUNIST PARTY;
  PEOPLE’S REPUBLIC OF CHINA; and
  PETROCHINA INTERNATIONAL
  (AMERICA), INC.


  Defendants.
  _______________________________/


                              NOTICE OF ENTRY OF PARTIES

          Plaintiffs and undersigned identify the following additional Plaintiffs, which have

  been added to the docket:

          LEE ANGIOLETTI;

          MARIANGELLA MANNING;

          LYNNORA VASQUEZ;

          and REBECCA MADDEN;

          on behalf of themselves, and all those similarly situated.
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                                                          CASE NO. 9:20-cv-80604-RKA


  Dated this 7th day of July, 2020.


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